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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                        NORFOLK DIVISION



  THE COLEMAN COMPANY,INC.,

         Plaintiff/Counter-Defendant,
                                                                  CIVIL NO.2:20cv351
         V.



  TEAM WORLDWIDE CORPORATION,

         Defendant/Counter-Plaintiff,

  and


  CHENG-CHUNG WANG,

          Counter-Plaintiff.



                                                 ORDER


          This matter comes before the Court on its own initiative. Trial in this matter is currently

  set to begin on Tuesday, March 15, 2022. During the motions hearing on February 1, 2022, the
  Court warned the parties about the possibility of a trial continuance due to COVID-19 trial
  restrictions and the possibility of criminal trial matters filling the Court's capacity. Upon further
  review ofthe master trial calendar, it still appears likely that certain criminal trials set during trial
  in this matter will take precedence. The Court is also concerned with giving the parties adequate
  time for any foreign witnesses to comply with any COVID-19 travel protocols.
          Considering the above, the Court ORDERS the parties to contact Ms. Lori Baxter,
  Courtroom Deputy, regarding a new trial date in this matter. The parties SHALL contact Ms.
  Baxter with proposed dates no later than Thursday.February 17.2022 at noon. Failure to strictly
  adhere to this deadline shall result in the Court itself choosing the date for continuance of trial.


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 which shall not be moved for any reason. In any event, trial in this matter shall not begin later
 than Thursday. August 4.2022.

        The Clerk is DIRECTED to forward a copy of this Order to all Counsel of Record.
        IT IS SO ORDERED.

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  Norfolk, VA
  February      2022
